           Case 2:18-cv-00468-RDP Document 13 Filed 06/25/18 Page 1 of 2                           FILED
                                                                                          2018 Jun-25 PM 04:24
                                                                                          U.S. DISTRICT COURT
                                                                                              N.D. OF ALABAMA


                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION


CLARE THOMAS,                                     }
                                                  }
      Plaintiff,                                  }
                                                  }
v.                                                }    Case No.: 2:18-cv-00468-RDP
                                                  }
T-MOBILE USA, INC., et al.,                       }
                                                  }
      Defendants.                                 }


                                             ORDER

      Before the court is a Motion for Admission Pro Hac Vice filed on behalf of attorney

Archibald M. Smith, IV (Doc. # 12). The Motion is CONDITIONALLY GRANTED.

      On or before July 2, 2018, Attorney Smith SHALL:

      1.       Certify to the court that he has read and understands:

               (a)    any local rules applicable in this District;

               (b)    the Alabama State Bar Code of Professional Courtesy and the Lawyer’s
                      Creed, which can be accessed at:

                      https://www.alabar.org/membership/code-of-professional-courtesy/,
                      https://www.alabar.org/membership/lawyers-creed/; and

               (c)    this court’s CM/ECF requirements.

      2.       Pay the $50 PHV fee.

      Failure to submit the above items will result in vacatur of the conditional grant of the

motion.
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DONE and ORDERED this June 25, 2018.



                              _________________________________
                              R. DAVID PROCTOR
                              UNITED STATES DISTRICT JUDGE




                                 2
